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                        Exhibit A




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             ineers

          economists
          scientists

       9 ~ay 1979

       MI2649.AO


       Mr. Stephen Ryan
       Pacific Wood Preserving’ Corp~
       P.O. Box
       El~ira, CA 95625
       Dear Mr. Ryan:
       Subject:     Report on Industrial Wastewater and Storm Water
                    Control
       This letter report recommends action to be taken by Pacific
       Wood Preserving to implement programs for industrial waste-
       water and storm water control at your site (Figure I).
       Technical data supporting key recommendations and alterna-
       tives are attached in the appendices. The work performed by
       CH2M HILL is generally a~ outlined in our Proposal for Engi-
       neering Services, dated ~6 March 1979. The only deviation
       from our work scope involved the quantitive definition of
       the ground water situation. Analysis of water samples from
       the wells in both the retail yard area and the stock storage
       area showed the same concentrations of chrome, copper and
       arsenic ~resentin the 1972 well data collected prior to
       plant operation. Th~ well in the process area yielded
       samples high in chrome. The site soil samples yielded
       concentrations of chrom~, copper and arsenic ranging both
       above and below the concentrations from an off-site sample.
       The concentrations on- and off-site were of the same order
       of ~agnitude. When viewed together, these data yield an
       uncertain picture of ground water quality~ To better eval-
       uate the situation, we reco~,end that two monitor well
       systems be installed - one in the process area and the other
       in the treated stock storage area. Samples from these wells
       ~ould provide the data needed to quantitatively define the
       ground water situation.




                          California 95814




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                             BASIS FOR ANALYSIS
       Analysis of your plant operations showed that the most
       logical method of dealing with your site was to consider it
       as two distinct areas:
            o    process area
            o    storage area
       The process area includes the retorts, drip pads, chemical
       storage tanks, mixing tanks and truck unloading areas. Both
       industrial wastewater and stoz~ water runoff are generated
       in the process area.
       The storage area includes the remainder of the site and may
       be divided into three sub-areas:
            o    treated stock storage area
            o   white (untreated) stock storage area
            o    buildings
       Only storm water runoff is generated in the storage area~
                          ALTERNATIVE SOLUTIONS
       PROCESS AREA
       Industrial Wastewater
       Industrial wastewater in the process area includes:
            o    drip water from newly treated stock
            o    retort drippings
            o    compressor seal water
            o    delivery truck spillage
            o    storage tank spillage
            o    mixing tank spillage (potential}




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      Currently, there are attempts to contain and collect these
      industrial wastewaters and use them as process water make-
      up. The facilities required to completely control these
      wastewaters and recycle them are the same facilities needed
      to collect storm water runoff in the process area, and are
      described in the next section.
       Storm Water Runoff
       Drip pad area runoff, retort drippings, and compressor seal
       water are presently collected in the retort sumps, pumped to
       the refuse tank, and used as treatment solution make-up
       water. Storm water runoff from the tank truck unloading
       areas, tank pads, and retort areas should be collected and
       reused.
       Based on climatological data for Elmira, California (Appendix I),
       our analysis shows that the total average storm water runoff
       from existing and proposed paved process areas can be reused
       as make-up water (Appendix 2). Storm water collection,
       storage and reuse is the alternative selected for all process
       area storm water runoff.
       For the months of November through February, the average
       annual net precipitation (precipitation-pond evaporation) is
       8.7 inches. For the 10-year frequency, net precipitation
       doubles in the winter months. To facilitate plantoperations,
       we recommend all walled tank areas and retort process a2eas
       be drained to the reuse sump to avoid ponding.
       Draining the walled tank areas will also solve the problem
       of reinforcing the existing block walls to hold a one tank
       failure. With these areas free draining to the sump, the
       walls only have to be coated to prevent leakage and not to
       withstand the hydraulic pressure caused by a tank failure.
       Existing paved areas total 20,775 square feet, which include
       the process tank pads and drip pad. To collect the remaining
       process a~ea storm water runoff, the following ~,aving is
       required:
            o    Paving under and around the retorts - 3,500 sq ft




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                 Paving a 12-foot wide strip around the outside of
                 the process tanks to contain unloading spills -
                 1,560 sq ft
            O    Expand drip pad area to allow all treated stock to
                 drip for a minimum of 48 hours - 5,460 sq ft
       Thus, the total paved process~ area will be 31,295 sq ft.
       The Regional Water Quality Control Board’s requirement for
       sizing the retention facility is to contain the one in
       !00-year storm.., 5.19 inches of rainfall. This requires a
       sump with a volume of 101,000 gallons.
       The physical features to be constructed in the process area
       are:
            o    Paving retort area - 4-inch slab witL drain scup-
                 pers to existing sumps at the ends of retorts
                 Paving tank truck unloading area - 8-inch slab
                 with perimeter curb sloped to drain into tank pad
                 area
            o    Paving expanded drip area - asphalt or concrete
                 pad sloped SW to match existing drip pad paving
            O    Drip pad curbs - install new asphalt curbs, 6 to
                 12 inches high around the perimeter of the drip
                 pad area
            O    Coating tank pad area block walls - hot asphalt
                 spray at block/pad joint and 12 inches up the
                 block wall
                 Storage tank and pump - 100,000 gallon storage
                 tank (30’@ x 20’) and pump. There are two alter-
                 natives:
                      a below-ground tank utilizing gravity drain-
                      age and a pump to transfer storm water to the
                      process water make-up tank. Power failure
                      during a storm will not affect the operation
                      of this alternative.




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                      an above-ground tank requiring a new pump in
                      either the existing retort s=np or a new
                      collection sump to transfer runoff into the
                      tank. Curbs must be designed to contain the
                      100-year storm or emergency back-up power
                      must be provided to operate the sump pump
                      during power interruptions.
       Capital costs for the process area stoz~n water colleution,
       storage and reuse system are estimated at $101,000 for the
       tank below-ground and $91,000 for the tank above-ground
       (Appendix 4). Operation and maintenance costs are estimated
       to be less than $1,000 per year.
       STORAGE AREA
       Treated Stock Stora@e Area
       In the treated stock storage area, including the retail
       yard, there are two separate requirements:
                 preventing contaminants frombeing deposited on
                 the area
                 preventing contaminants, if there, from moving
                 off-site
       During dry weather, the expanded drip pad area plus PWPIs
       on-going increased drip time program should prevent con-
       taminants from reaching the £torage area. During wet
       weather, these techniques will materially reduce the intro-
       duction of contaminants to the storage area. ~rapping of
       treated material, a relative expensive practice and highly
       uncommon in the wood preserving industry, would be needed
       for complete control of contaminants in wet weather. At
       this time, we recommend that the effectiveness of t~e
       longer drip time be confirmed by regular site soil teEting.
       The soil samples collected on-site do not differ signifi-
       cantly from that collected off-site. Thus, with the im-
       proved stock drying procedures, surface water runoff from
       the treated stock storage area may be similar in quality to
       runoff from the surrounding land. The monitor well in the




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       treated stock storage area will yield data on the need for~
       control of ground water under the site. If control is
       needed, a surface drainage collection and storage system
       (Appendix 3) or total paving may be needed. These would b
       major construction projects. The drainage system is esti-
       mated to cost $200,000 (Appendix 4), paving would add
       $200,000 (Appendix 4) to that cost. We recommend that the
       monitor wells be installed and data from them evaluated to
       accurately assess the ground water situation.
       White Stock Stora@e Area
       We recommend that white stock material be stored along the
       perimeter of the storage yard. A 40-foot strip along Beet
       Road on the east side of the yard and a 60-foot strip along
       Holdener Road ~houldbe designated for the exclusive use of
       storing wood prior to treatment. These strips would be
       graded to drain to the ditches along the adjoining roads.
       The untreated wood could be stored up to the property line
       because there is no concern for surface water contamination
       from these areas. The areas are assumed to be presently
       draining offsite, and no construction costs are contemplated
       for these areas.
       Buildin@s
       The main office building will be fitted with gutters and
       downspouts to carry rainfall landing on this building to the
       site perimeter.
       We estimate that these improvements will cost approximately
       $800 (Appendix 4).
                              RECOMMENDATIONS
       Our specific recommendations are as follows:
                   Install the process area waste~water and storm
                   water collection and storage systems as described.
                   Carefully follow your recently revised require-
                   ments for treated stock drying~time on the drip
                   pad.




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                    Install two monitor wells onsite to determine the
                    condition of the ground water under the site.
                    This program is necessary prior to determining if
                    there is a need for the improvements in the
                    treated stock storage area.
               4.   Move untreated stock to the perimeter of the site.
               5o   Install office building gutters to convey rainfall
                    away from the process area.
        We will be pleased to discuss the contents of this report
        with you at your convenience. We appreciate the opportunity
        to assist Pacific Wood Preserving in developing the solution
        to your water pollution problems. We are prepared to review
        our recommendation with the Regional Water Quality Contro~
        Board and to begin the ground water testing progr&~ and the
        design of facilities you select.
        Your~ tr,,ly,
          /!

        Project Manager
        ja




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                          APPENDIX



                Climatological Data

                Process Area Storm Water Water Balance

           3.   Treated Stock Storage Area Pond Sizing

           4.   Cost Estimates

                     Process Area
                     Treated Stock Storage Area




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                                APPENDIX I
                          PACIFIC WOOD PRESERVING
                CLIMATOLOGICAL DATA FOR ELMI.~A, CALIFORNIA

                                               Pan           Pond
                        Precipitation~     Evaporation2   Evaporation3
       January               5.03              1.49           1.27
       February              3.37              2.57           2.18
       March                 2.29              4.61           3.92
       April                 1.60              6.78           5.76
       May                   0.44              8.76           7.45
       June                  0.12             10.19           8.66
       July                  0.01             10.48           8.91
       August                0.02              9.12           7.75
       SepteMber             0.24              7.46           6.34
       October               1.19              5.31           4.51
       November              2.45              2.45           2.08
       December              4.24              1.48           1.26
       Annual Total         21.00             70.70           60.09



        IMonthly average in inches--based on average annual rainfall
         of’21 inches and monthly averages for Davis and Vacaville
         Stations reported by National Climatilogical Center,
         Ashville, North Carolina.
        2From data recorded at U.C. Davis Class A Evaporation Pan for
         period of 1959 to 1978 provided by Dr. William Pruitt of
         U.C. Davis. Davis data is representative of Elmira
         conditions.
        3pond Evaporation = 0.85 Pan Evaporation--from discussion
         with Dr. William Pruitt of U.C. Davis. Pan at Davis in
         pasture, so coefficient of 0.85 is reasonable.

        100-year, 24-hour rainfall event = 5.~9 inches
        10-year annual rainfall total = 30.22 inches
        From "DWR Bulletin 195, Volume I rainfall analysis for
        drainage design" for Fairfield Station (mean annual rain-
        fall = 21.05 inches).




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                                       APPENDIX 2
                  PROCESS AREA STORMWATER RUNOFF COLLECTION,
                       STORAGE, AND REUSE WATER BALANCE
                                 (1,000 Gallons/Month)

                                                       Month
                        J    F     M     A     M       J   J       A       S       O    -1~   D
         Process
         Water Use,
         1978          207 216 291 321 323 341 292 288 252 288 170 142
         Average
         Precipitation,
         31,295 square
         feet           98   66    45    31        9    3      0       0       5   23   48    83
         Net Demand    109 150 246 290 314 339 292 288 247 265 122 109

         Storage capacity for 5.19 inches rainfall on 31,295 square
         feet - 101,242 gallons.




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                                          APPENDIX 3

PACIFIC WOODPRESERVING
SIZING OF HOLDING POND BASED ON 10-YEAR ANNUAL RAINFALL-TREATED STOCK STORAGE AREA


It.._.~                  Ja_~n     Pet)    Mar     Apt       ~a~   JUn    Ju__~l    &u~    Sep      _0~_~   No~   ~
10-Year RainfallI        727       488     331     2~2        6~     17       1       3     3S      173     354   613

1O-Yea~ R~off2           582       390     265     186        50     ~4       1       2     28      138     283   4~0

10-Ye8~ Po~Ra~nfall3     104        ’70      47        33      9      2      -        -      5       25      51    88
To~1S~orage4             686       460      312    219        59     ~6       1       2     33      163     334   $78

Po~ ~a~ra~/on5             13       22       3g        58     75     87     90       78     64       45      21    13
Ne~ 8~orage6             673       438      273    161       -16   -71    -89       -76    -31      128     ~13   5S5

P~£on Water Use7         106       140      245    289       314    339    292      288    24?      264     IZl   107

S~or~e ~len~e8           567       2~0       ~8   -128      -330   -410   -381     -364   -278   -146       1S2   458



IAI1 value8 in 1,000 gallons--baaed on average monthly distribution of 10-year annual rainfall o5 30.22
 areas of 1.0 acres in retail yard and 2.6 acres in stock storage area.

2Runoff ¯ 0,8 rainfall

3Rainfall on 0.53 acre pond

48~orage ¯ runo~ ¯ pond rainfall

5Evaporation ~rou average surface area o~ pond of 0.37 acres

6Net Storage ¯ storage - pond evaporation

?Pros PHP record8 leas production area runoff a~ounts                                                 ....

0Storage Balance - net s~orage w water use

Maximum storage balance during year (November through March) - 1,535,000 ~allons - 4.7 acre-feet.




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                                                               APPENDIX 4
                                             PRELIMINARY COST ESTIMATE
                              FOR PROCESS AREA STORMWATER COLLECTION AND REUSE SYSTEM


           Item                                  Size/Features                                                             Cost
                                                 Concrete, 43 yds (3,500 sq ftx 4")                                      $15,000
           Paving Retort Area
                                                 Scuppers
                                                 Hand Grading and Fill
                                                 Concrete, 38 yds (1,560 sq ftx 8")                                         6,000
           Paving Tank Truck
           Unloading Area
                                                  Concrete, 106 yds (5,640 sq ftx 6")                                     20,000
           Paving Expanded
           Drip Pad Area
           Drip Pad Curbs                         Asphalt, 100 tons (1,900 ft curb)                                         5,000

           Coating Tank Pad                       Hot Asphalt Spray 2-ft Strip, over 6"                                     2,000
           Block Walls                            Asphalt Corner Fillets, 400 lineal ft
           Sump and Pump                          Concrete Sump, 107 yds                                                   30,000
           Below Ground                           (30’@ x 20’, 10" walls, 16" bottom)                                       3,000

.................AboveSumP andGroundPUmp ........ Steetsump PumpsTank-30"@-x-20*and
                                                                          Emergency    Power
                                                                                    ................................... $i7,0008,000

                                                                                                                     18,000-20,000
           Contingency 25%
                                                                                                                        $101,000
           Total Cost with Sump In Ground
                                                                                                                         $91,000
           Total Cost with Sump Above Ground




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                        FOR TREATED STOCK STORAGE AREAS
                           DRAINAGE AND POND SYSTEM

Item                                     Quantity         Unit Cost     Item Cost
6" Gravity Storm Drain Pipe                525 ft           $9/ft       $    4,725
12" Gravity Storm Draln Pipe             1,250 ft          $18/ft           22,500
6" Pressure Makeup Water Pipe              950 ft          $12/ft           11,400
Pond Lift Station                                           L.S.            30,000
18"@ Drain Inlets                              6            $350             2,100
Preoast Drain Basins                           2            $750             1,500
Pond Earthwork                                              L.S.            45,000*
Pond Valves, Controls and Piping                             L.S.           25,000
Pond Chain Link Fence                     1,000 ft           $7/ft           7,000
Site Grading                            175,000 sq ft     $0.05 sq ft        8,750
Ditch Grading                            21,000 ft           $2/ft           4,200
       Subtotal                                                         $165,000
Contingency - 25%
TOTAL                                                                   $203,000
Preliminary Cost Estimate - Paving
Asphalt Paving                          160,000 sq ft        $1/sq ft   $160,000
Contingency - 25%                                                           40,000

                                                                        $200,000

Preliminary Cost Estimate - Buildings
Building Gutters                            130 ft           $5/ft             650

Contingency - 25%                                                              150

TOTAL                                                                   $      800

*Assumes suitable material onsite.




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